                      2:11-cv-02079-MMM # 292        Page 1 of 2
                                                                                      E-FILED
                                               Thursday, 16 August, 2018 04:40:42 PM
                 IN THE UNITED STATES DISTRICT COURT Clerk, U.S. District Court, ILCD
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                           URBANA DIVISION

UNITED STATES SECURITIES                )
AND EXCHANGE COMMISSION,                )
                                        )
           Plaintiff,                   )
                                        )
                 v.                     )            No. 11-2079
                                        )
TIMOTHY J. ROTH                         )
                                        )
           Defendant,                   )
                                        )
______________________________________ )

         PLAINTIFF UNITED STATES SECURITIES AND EXCHANGE
           COMMISSION’S NOTICE OF VOLUNTARY DISMISSAL
                       OF RELIEF DEFENDANTS

      Plaintiff United States Securities and Exchange Commission, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(i), hereby voluntarily dismisses its claim

against Relief Defendants KeyOp Exercise, Inc., Mezolink, Inc., VCN Celect.org,

LLC, and Vcomm Networks of Canada. These Relief Defendants have not filed an

answer or a motion for summary judgment in this matter.

Dated: August 16, 2018

                                        UNITED STATES SECURITIES AND
                                         EXCHANGE COMMISSION

                                        /s/ Jonathan S. Polish
                                        By: One of its Attorneys
Jonathan S. Polish
UNITED STATES SECURITIES
 AND EXCHANGE COMMISSION
175 W. Jackson Blvd., Suite 1450
Chicago, Illinois 60604
(312) 353-7390
                      2:11-cv-02079-MMM # 292        Page 2 of 2




                           CERTIFICATE OF SERVICE




        I hereby certify that on August 16, 2018, I electronically filed the foregoing
document with the clerk of court for this U.S. District Court using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of
Electronic Filing” to all attorneys of record who have consented in writing to accept
this Notice as service of this document by electronic means.




                                               /s/ Jonathan S. Polish




                                           2
